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     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. MJ 2:23-mj-01699-Duty-1

13             Plaintiff,                    GOVERNMENT’S NOTICE OF REQUEST FOR
                                             DETENTION
14                   v.

15   ANTHONY HAO DINH,

16             Defendant.

17

18        Plaintiff, United States of America, by and through its counsel
19   of record, hereby requests detention of defendant and gives notice of
20   the following material factors:
21       1.    Temporary 10-day Detention Requested (§ 3142(d)) on the
22             following grounds:
23            a.   present offense committed while defendant was on release
24                 pending (felony trial),
25            b.   defendant is an alien not lawfully admitted for
26                 permanent residence; and
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 1            c.    defendant may flee; or

 2            d.    pose a danger to another or the community.

 3       2.    Pretrial Detention Requested (§ 3142(e)) because no

 4             condition or combination of conditions will reasonably

 5             assure:

 6             a.    the appearance of the defendant as required;
 7             b.    safety of any other person and the community.
 8       3.    Detention Requested Pending Supervised Release/Probation
 9             Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.
10             § 3143(a)):
11             a.    defendant cannot establish by clear and convincing
12                   evidence that he/she will not pose a danger to any
13                   other person or to the community;
14             b.    defendant cannot establish by clear and convincing
15                   evidence that he/she will not flee.
16       4.    Presumptions Applicable to Pretrial Detention (18 U.S.C.
17             § 3142(e)):
18             a.    Title 21 or Maritime Drug Law Enforcement Act (“MDLEA”)
19                   (46 U.S.C. App. 1901 et seq.) offense with 10-year or
20                   greater maximum penalty (presumption of danger to
21                   community and flight risk);
22             b.    offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or
23                   2332b(g)(5)(B) with 10-year or greater maximum penalty
24                   (presumption of danger to community and flight risk);
25             c.    offense involving a minor victim under 18 U.S.C.
26                   §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
27                   2251A, 2252(a)(1)-(a)(3), 2252A(a)(1)-2252A(a)(4),
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                                          2
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 1                   2260, 2421, 2422, 2423 or 2425 (presumption of danger

 2                   to community and flight risk);

 3             d.    defendant currently charged with an offense described

 4                   in paragraph 5a - 5e below, AND defendant was

 5                   previously convicted of an offense described in
 6                   paragraph 5a - 5e below (whether Federal or
 7                   State/local), AND that previous offense was committed
 8                   while defendant was on release pending trial, AND the
 9                   current offense was committed within five years of
10                   conviction or release from prison on the above-
11                   described previous conviction (presumption of danger to
12                   community).
13       5.    Government Is Entitled to Detention Hearing Under § 3142(f)
14             If the Case Involves:
15             a.    a crime of violence (as defined in 18 U.S.C.
16                   § 3156(a)(4)), a violation of 18 U.S.C. § 1591, or
17                   Federal crime of terrorism (as defined in 18 U.S.C.
18                   § 2332b(g)(5)(B)) for which maximum sentence is 10
19                   years’ imprisonment or more;
20             b.    an offense for which maximum sentence is life
21                   imprisonment or death;
22             c.    Title 21 or MDLEA offense for which maximum sentence is
23                   10 years’ imprisonment or more;
24             d.    any felony if defendant has two or more convictions for
25                   a crime set forth in a-c above or for an offense under
26                   state or local law that would qualify under a, b, or c
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 1                   if federal jurisdiction were present, or a combination

 2                   or such offenses;

 3             e.    any felony not otherwise a crime of violence that

 4                   involves a minor victim or the possession or use of a

 5                   firearm or destructive device (as defined in 18 U.S.C.

 6                   § 921), or any other dangerous weapon, or involves a

 7                   failure to register under 18 U.S.C. § 2250;

 8             f.    serious risk defendant will flee;
 9             g.    serious risk defendant will (obstruct or attempt to
10                   obstruct justice) or (threaten, injure, or intimidate
11                   prospective witness or juror, or attempt to do so).
12        6.   Government requests continuance of _____ days for detention
13             hearing under § 3142(f) and based upon the following
14             reason(s):
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19   //
20   //
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22   //
23   //
24   //
25   //
26   //
27   //
28   //
                                          4
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 1       7.    Good cause for continuance in excess of three days exists in

 2             that:

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 8   Dated: April 7, 2023                Respectfully submitted,
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